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 1                                                             The Honorable Richard A. Jones
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                            UNITED STATES DISTRICT COURT FOR THE
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                       NO. CR20-151RAJ
10                            Plaintiff,
                                                     ORDER CONTINUING TRIAL DATE
11                                                   AND PRETRIAL MOTIONS DEADLINE
                       v.
12
13   EPHRAIM ROSENBERG,
14   JOSEPH NILSEN,
     HADIS NUHANOVIC,
15   KRISTEN LECCESE,
16
                              Defendants.
17
18          THE COURT, having considered the parties’ Stipulated Motion to Continue Trial
19 Date and Pretrial Motions Deadline, and all the files and records herein, finds as follows:
20          1.      The facts and circumstances are as set forth in the Stipulated Motion to
21 Continue Trial Date and Pretrial Motions Deadline;
22          2.      The case is complex due to such factors as the nature of the charges and
23 prosecution, the potential consequences, the possible questions of law and fact, the
24 unusual complexity of the case, and the significant size, scope, and technical nature of
25 discovery;
26          3.      The Coronavirus Disease 2019 (COVID-19) pandemic and health-related
27 considerations further have hampered the parties’ ability to examine evidence and
28 adequately prepare for trial;
     ORDER CONTINUE TRIAL DATE - 1                                    UNITED STATES ATTORNEY
                                                                     700 STEWART STREET, SUITE 5220
     U.S. v. Rosenberg, et al., CR20-151RAJ
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
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 1          4.      Failure to grant a continuance in this case would deny counsel the
 2 reasonable time necessary for effective preparation of trial and other pretrial proceedings,
 3 taking into account the exercise of due diligence;
 4          5.      For these reasons, failure to grant a continuance could result in a
 5 miscarriage of justice;
 6          6.      The ends of justice served by granting this continuance outweigh the best
 7 interest of the public and the defendant in a speedy trial; and
 8          7.      All these findings are made within the meaning of 18 U.S.C.
 9 § 3161(h)(7)(A) and (B)(i),(ii) and (iv).
10          IT IS THEREFORE ORDERED that the parties’ Stipulated Motion (Dkt. # 99) is
11 GRANTED.
12          1.      The trial in this matter is continued to October 24, 2022, at 9:00 a.m.
13          2.      All pretrial motions, including motions in limine, shall be filed no later than
14 July 21, 2022. All pretrial motions shall be noted for consideration on the third Friday
15 after filing, and responses thereto due no later than fourteen (14) days after filing of
16 motions.
17          3.      The period of time from the filing date of this Order until the new trial date
18 of October 25, 2022, shall be excludable time pursuant to the Speedy Trial Act, 18 U.S.C.
19 § 3161(h)(7)(A).
20
21          DATED this 29th day of October, 2021.
22
23                                                      A
24                                                      The Honorable Richard A. Jones
25                                                      United States District Judge

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28
     ORDER CONTINUE TRIAL DATE - 2                                     UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     U.S. v. Rosenberg, et al., CR20-151RAJ
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
